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MINUTE ENTRY
BARBIER, J.
OCTOBER 17, 2019



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                  CRIMINAL ACTION
VERSUS                                                    NO: 18-160
RAYLAINE KNOPE                                            SECTION: "J"

                                    SENTENCING


COURT REPORTER: Karen Ibos
COURTROOM DEPUTY: Gail Chauvin/Ariana Newman


PRESENT: Risa Berkower, DOJ, for government
         Steven Lemoine, for defendant

Case called at 10:10 a.m.
Defendant sentenced to counts 1, 2 and 3 of the Superseding Bill of Information.
Counts dismissed on motion of the United States as to this defendant: all remaining.
See Judgment.
The defendant was remanded.
Hearing ended at 10:37 a.m.




 JS-10: 27 min.
